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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                              Case No. 4:12-cr-00300-11 KGB

ZACHARY SMITH                                                                  DEFENDANT

                                             ORDER

       Before the Court is the United States’ motion to dismiss without prejudice the

superseding indictment now pending against defendant Zachary Smith (Dkt. No. 282). The

Court grants the United States’ motion to dismiss without prejudice the superseding indictment,

and the superseding indictment now pending against Mr. Smith is hereby dismissed without

prejudice.

       It is so ordered this 21st day of January, 2016.



                                                     ____________________________________
                                                     Kristine G. Baker
                                                     United States District Judge
